         Case 2:20-cv-00491-AJS Document 178 Filed 11/02/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA


 BLAIR DOUGLASS,

                       Plaintiff,                      Lead Case No. 2:20-cv-00491-AJS

        v.

 ’47 BRAND, LLC,

                       Defendant.


 BLAIR DOUGLASS,

                       Plaintiff,                      Member Case No. 2:20-cv-00525-AJS

        v.

 JS PRODUCTS, INC. and TOP RANK, INC.,

                       Defendants.


              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff Blair Douglass voluntarily dismisses all

claims alleged in the member case, Douglass v. JS Products, Inc. and Top Rank, Inc., Member

Case No. 2:20-cv-00525-AJS, with prejudice, and with each party bearing his and its own costs.

                                                 Respectfully Submitted,


 Dated: November 2, 2020                        /s/ Kevin W. Tucker
                                                Kevin W. Tucker (He/Him/His)
                                                Pa. No. 312144
                                                Kevin J. Abramowicz
                                                Pa. No. 320659
                                                EAST END TRIAL GROUP LLC
                                                186 42nd St., P.O. Box 40127
                                                Pittsburgh, PA 15201
                                                Tel. (412) 877-5220
Case 2:20-cv-00491-AJS Document 178 Filed 11/02/20 Page 2 of 3




                               ktucker@eastendtrialgroup.com
                               kabramowicz@eastendtrialgroup.com
        Case 2:20-cv-00491-AJS Document 178 Filed 11/02/20 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, November 2, 2020, a true and correct copy of the foregoing

document was filed on the Court’s CM/ECF system and will be served upon all counsel of record.

                                             Respectfully Submitted,

 Dated: November 2, 2020                          /s/ Kevin W. Tucker
                                                  Kevin W. Tucker (He/Him/His)
                                                  Pa. No. 312144
                                                  EAST END TRIAL GROUP LLC
                                                  186 42nd St., P.O. Box 40127
                                                  Pittsburgh, PA 15201
                                                  Tel. (412) 877-5220
                                                  ktucker@eastendtrialgroup.com
